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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS


B-5, INC. and B&T INDUSTRIES, L.L.C.,                )
                                                     )
                               Plaintiffs,           )
                                                     )
      v.                                             )          Case No. 2:17-cv-02080-JAR-GLR
                                                     )
MODULAR EVOLUTION, LLC,                              )
                                                     )
                             Defendant.              )


                 CLAIM CONSTRUCTION AND PRE-HEARING STATEMENT

           Pursuant to ¶ 5.c of the Court’s Scheduling Order (Doc. No. 12), Plaintiffs B-5, Inc. and

B&T Industries, L.L.C. (collectively “B-5”) provides its Claim Construction and Pre-Hearing

Statement.

I.         Asserted Patent and Claims

           Plaintiffs have asserted infringement of U. S. Patent No. 8,904,693 and claims 1 – 4.

II.        Construction of Terms, Phrases, or Clauses on Which the Parties Agree

           Plaintiffs propose definitions for the following claim terms, governed by 35 U.S.C. § 112

¶ 6, to which Defendant has not objected or offered alternative terms or definitions:

           1.     Claim Terms:

                  a.   connector: that which joins or fastens together; a link

                  b.   leg mount assembly:

                          i. Mount: to fix securely to a support

                          ii. Assembly: a set of parts put together
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                c.   pivot support:

                        i. Pivot: a short rod or shaft about which a related part rotates or swings

                        ii. Support: a bearing or state of being supported

                d.   pivot connection:

                        i. Pivot: a short rod or shaft about which a related part rotates or swings

                        ii. Connection: link

                e.   leg mounting surface:

                        i. Mounting: fixing securely to a support

                        ii. Surface: an outer boundary of an object

III.   Disputed Terms, Phrases, or Clauses

       It is Plaintiffs’ position that none of above-identified terms, phrases, or clauses are in

dispute.

IV.    Anticipated Length of Time Necessary for Claim Construction Hearing

       Plaintiffs do not believe that a claim construction hearing is necessary at this time.

Plaintiffs are available at the convenience of the Court if a claim construction hearing is desired

by the Court.

V.     Anticipated Witnesses at Claim Construction Hearing

       N/A

VI.    Other Issues for Pre-Hearing Conference

       None.




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Dated: February 16, 2018


Respectfully Submitted,                            Respectfully Submitted,

/s/James J. Kernell                                s/
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                                                   Attorneys for Defendant



                                  CERTIFICATE OF SERVICE

               I certify that on the 16th day of February 2018, the foregoing Claim Construction

and Pre-Hearing Statement was filed electronically with the Clerk of the Court via the CM/ECF

system, which will deliver electronic notification to all counsel of record.

                                                       /s/ James J. Kernell




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